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                             IN THE UNITED STATES DISTRICT COURT
                               OF THE EASTERN DISTRICT OF TEXAS
                                     TEXARKANA DIVISION

   HEALTH CHOICE ALLIANCE, LLC,                   §
   on behalf of the UNITED STATES OF              §
   AMERICA, et al.                                §
                                                  §
        Plaintiff/Relator,                        §
                                                  §
   v.                                             §      Case No. 5:17-CV-123-RWS-CMC
                                                  §
   ELI LILLY AND COMPANY, INC.,                   §
   et al.,                                        §
                                                  §
        Defendants.                               §

                    ORDER ADOPTING REPORT AND RECOMMENDATION
                       OF THE UNITED STATES MAGISTRATE JUDGE

           The above-entitled and numbered civil action was heretofore referred to United States

   Magistrate Judge Caroline M. Craven pursuant to 28 U.S.C. § 636. On July 25, 2018, the Magistrate

   Judge issued a Report and Recommendation, recommending five separate motions to dismiss

   Relator’s First Amended Complaint (“FAC”) be granted in part and denied without prejudice in part.

   Specifically, the Magistrate Judge recommended Defendants’ motions to dismiss under FED. R. CIV.

   P. 12(b)(6) be denied without prejudice. The Magistrate Judge further recommended Defendants’

   motions to dismiss under FED. R. CIV. P. 9(b) be granted to the extent Relator’s federal and state law

   FCA claims be dismissed without prejudice and Relator be allowed to re-plead, to the extent it

   deems appropriate to address the deficiencies identified in the 125-page Report and

   Recommendation.

           This False Claims Act (“FCA”) qui tam action was filed on June 15, 2017 by Health Choice

   Alliance LLC (“Relator”) against Eli Lilly and Company, Inc., VMS BioMarketing, Covance, Inc.,

   United BioSource Corporation, and HealthSTAR Clinical Education Solutions LLC (collectively,
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   “Defendants”). Relator alleges Defendants have engaged in three schemes that violate the Anti-

   Kickback Statute (“AKS”) and, thus, the FCA.

           The July 25, 2018 Report and Recommendation of the Magistrate Judge which contains her

   proposed findings of fact and recommendations for the disposition of Defendants’ motions to

   dismiss has been presented for consideration. No objections to the Report and Recommendation

   were filed. Thus, any aggrieved party is barred from de novo review of the proposed findings and

   recommendations of the Magistrate Judge.

           There being no grounds of plain error or manifest injustice, the Court hereby adopts the

   Report of the United States Magistrate Judge as the findings and conclusions of this Court. The

   Court denies without prejudice Defendants’ Rule 12(b)(6) motions to dismiss on public disclosure

   and limitations grounds. The Court also denies Defendants’ Rule 12(b)(6) motions to dismiss

   because the FAC fails to plead the FCA elements of falsity, scienter (or AKS element of intent), and

   materiality.

           While sufficient to satisfy Rule 12(b)(6), the Court agrees with the Magistrate Judge the

   allegations in the FAC are not sufficient to satisfy the pleading requirements of FED. R. CIV. P. 9(b).

   (Report and Recommendation at 91-101). The FAC’s kickback schemes are not sufficiently

   supported by specific facts as to each defendant as required by Rule 9(b). Relator has not met its

   burden of “sufficiently pleading the time, place, or identity details of the traditional standard, in order

   to effectuate Rule 9(b)’s function of fair notice and protection from frivolous suits.” United States

   ex rel. Nunnally v. West Calcasieu Cameron Hosp., 519 Fed. Appx. 890, 895 (5th Cir. 2013). As

   held by the Magistrate Judge, the FAC also fails to plead factual information with sufficient indicia




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   of reliability demonstrating a strong inference false claims were submitted to the Government. Thus,

   Counts 1 and 2 are dismissed without prejudice.

          The Court further agrees with the Magistrate Judge the FAC does not set forth facts alleging

   an agreement to conspire. There is not a factual basis to determine the roles of each defendant in any

   agreement or each defendant’s specific intent to defraud. Thus, the Count 3 conspiracy claims are

   also dismissed without prejudice for failure to comply with the pleading requirements of Rule 9(b).

          Finally, the state law claims (Counts 4-24) are dismissed without prejudice for the same

   reasons. Like federal FCA claims, state law FCA claims are also subject to Rule 9(b). See United

   States ex rel. Foster v. Bristol-Myers Squibb Co., 587 F. Supp. 2d 805, 827 (E.D. Tex. 2008). As

   held by the Magistrate Judge, Relator has not sufficiently supported its allegations that Defendants

   violated the false claims laws of the states on whose behalf they purport to sue. (Report and

   Recommendation at 123).

          Relator is granted leave to reassert its federal and state law FCA claims to properly allege

   specific conduct by each defendant, as well as to plead with more specificity as required by Rule

   9(b). See United States ex rel. Bennett v. Medtronic, Inc., 747 F. Supp. 2d 745, 785 (S.D. Tex.

   2010). Relator shall also clarify in any amended complaint the timeframe for which it is asserting

   claims for damages. (Report and Recommendation at 75).

           Accordingly, it is hereby

          ORDERED that Defendant VMS BioMarketing’s Motion to Dismiss (Dkt. No. 66);

   Defendant Covance Inc.’s Motion to Dismiss (Dkt. No. 68); Defendant United BioSource

   Corporation’s Motion to Dismiss Relator’s First Amended Complaint (Dkt. No. 69); Eli Lilly and

   Company, Inc.’s Motion to Dismiss Relator’s First Amended Complaint (Dkt. No. 71); and


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   Healthstar Clinical Education Solutions LLC’s Motion to Dismiss Relator’s Amended Complaint

   (Dkt. No. 88) are hereby GRANTED IN PART and DENIED WITHOUT PREJUDICE IN

   PART. It is further

           ORDERED Defendants’ motions to dismiss under Rule 12(b)(6) are denied without

   prejudice. It is further

           ORDERED Defendants’ motions to dismiss under Rule 9(b) are granted to the extent the

   federal and state law FCA claims are dismissed without prejudice and Relator is allowed to re-plead
         .
   its claims, to the extent it deems appropriate to address the deficiencies identified in the July 25,

   2018 Report and Recommendation. It is further

           ORDERED that Relator shall re-plead its federal and state law FCA claims within twenty

   (20) days following the date of this Order Adopting, to the extent it deems appropriate. Relator shall

   also clarify in any amended complaint the timeframe for which it is asserting claims for damages.

   When and if Relator files a Second Amended Complaint, it shall also attach a redlined copy as an

   exhibit.

              SIGNED this 10th day of August, 2018.



                                                                ____________________________________
                                                                ROBERT W. SCHROEDER III
                                                                UNITED STATES DISTRICT JUDGE




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